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                                          March 24, 2023


VIA ECF

Hon. Cheryl L. Pollak, U.S.M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East, Room 1230
Brooklyn, NY 11201

       Re:     Bunting v. Nuts 'N More LLC
               Case No. 22-cv-4188 (AMD) (CLP)

Dear Magistrate Judge Pollak:

       We represent defendant Nuts ‘N More LLC in the above-referenced ADA website
accessibility case, and we submit this letter in response to plaintiff’s letter of March 9, 2023,
and pursuant to Your Honor’s Order of March 22, 2023.

      As an initial matter, defendant objects to plaintiff’s insinuation that defendant’s
responses to requests for admission were inadequate; plaintiff never raised this issue with
defendant before bringing it to the Court.

        Defendant does not deny that it owes discovery responses to plaintiff, and we have
been and are working with our client to compile responsive documents as quickly as
possible so that we can provide them to plaintiff. Defendant does object to plaintiff’s
attempt to make this issue about defendant’s counsel by citing other cases; unlike plaintiff’s
counsel, defendant has legitimate individual clients in each of these cases, and it is those
clients, rather than counsel, that must provide the information to respond to discovery. And
we should point out that while we do not dispute that the federal rules require defendant to
respond to discovery demands, given the nature of these cases, the vast majority of them
settled without the need to complete discovery; upon information and belief plaintiff’s
counsel in these cases were using these discovery letters for negotiating leverage rather
than out of genuine need for or interest in the responses. Nevertheless, defendant
recognizes that it is obligated to supply responses, and we will do so by April 3, 2023.

      We thank the Court for its attention to this matter. We are available at Your Honor’s
convenience if the Court has any questions regarding the foregoing.

                                             Respectfully submitted,

                                             David Stein
cc: Dan Shaked, Esq. (via ECF)
